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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


 UNITED STATES OF AMERICA

         v.                                            No. 1:02-CR-552
                                                           1:16-CV-633
 KENNETH LOUIS DAVIS,
                                                       The Honorable Leonie M. Brinkema
         Defendant.


                      UNITED STATES’ MOTION TO DISMISS § 2255

       The United States respectfully moves to dismiss defendant’s petition (ECF No. 92) filed

under 28 U.S.C. § 2255 that seeks to challenge his conviction under 18 U.S.C. § 924(c).

Although defendant contends that he is entitled to relief on collateral review under Johnson v.

United States, 135 S. Ct. 2551 (2015), and Welch v. United States, 136 S. Ct. 1257 (2016), he is

not challenging a sentence imposed under the Armed Career Criminal Act—the topic of those

decisions—and instead is seeking to extend Johnson and Welch to § 924(c)(3)(B) on collateral

review. But because his conviction has been final for more than one year, defendant fails to

satisfy 28 U.S.C. § 2255(f)(3), which provides the only available exception to the collateral-

review statute’s one-year statute of limitations.

       For a defendant to satisfy § 2255(f)(3), the Supreme Court itself must be the judicial body

to establish the right that a defendant is asserting, Dodd v. United States, 545 U.S. 353, 357

(2005), and the Supreme Court itself has not recognized that § 924(c)(3)(B) is unconstitutionally

vague. See United States v. Taylor, 2016 WL 4059359 (E.D. Va. July 28, 2016) (Ellis, J.)

(dismissing Johnson challenge to § 924(c) conviction as untimely and failing to satisfy

§ 2255(f)(3)); cf. Gray v. United States, No. 4:08-cr-25-RBS-FBS, at 6 (E.D. Va. July 25, 2016)
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(Smith, C.J.) (noting that defendant’s Johnson challenge to § 924(c) conviction “is not timely

pursuant to § 2255(f)(3)” and ordering defendant to respond because “his Motion will be

dismissed as untimely, unless he can otherwise demonstrate that it was filed within the proper

time period under 28 U.S.C. § 2255”).

       As explained at the end of this memo, a motion to dismiss is procedurally proper at this

stage and does not require the government or the Court to address all defenses and the merits of

defendants’ claims. Because this motion addresses a widely applicable question of law—one

that requires few details about a case and relies on information readily ascertainable from the

docket—a motion like this one conserves the resources of the Court and the United States and

presents no unfairness to defendants. Other defenses and merits arguments, such as whether

defendants’ federal offenses satisfy § 924(c)(3)(A), whether procedural default applies and can

be overcome, whether defendants’ claims satisfy § 2255(h)(2), and so on, are deferred for later

briefing, if that becomes necessary.

I.     Background

       On January 10, 2003, after a jury trial, defendant Kenneth Louis Davis was convicted of

one count of conspiracy to obstruct, delay, and affect commerce by robbery (Count 1), three

substantive counts of Hobbs Act robbery (Counts 2, 6, and 8), and three counts of using and

carrying a firearm during and in relation to a crime of violence (Counts 3, 7, and 9), which were

predicated on Counts 2, 6, and 8.

       On March 28, 2003, this Court sentenced the defendant to a total of 762 months of

imprisonment: 78 months on Counts 1, 2, 6, and 8 to run concurrently, and consecutive sentences

of 84 months on Count 3, 300 months on Count 7, and 300 months on Count 9. Following

multiple appeals and a prior § 2255 motion by the defendant, on June 8, 2016, the Fourth Circuit




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authorized the defendant to file a successive § 2255 motion, and the defendant filed the instant

motion.

II.     Johnson’s holding

        In Johnson, the Supreme Court “h[e]ld that imposing an increased sentence under the

residual clause of the Armed Career Criminal Act,” in 18 U.S.C. § 924(e)(2)(b)(ii), “violates the

Constitution’s guarantee of due process” because the ACCA’s residual clause is

unconstitutionally vague. 135 S. Ct. at 2563. In Welch, the Supreme Court held that Johnson’s

invalidation of the residual clause—a provision that results in a mandatory minimum that is

higher than the statutory maximum without the ACCA—is “a substantive decision and so has

retroactive effect . . . in cases on collateral review.” 136 S. Ct. at 1265. But, crucially, defendant

is not challenging an ACCA sentence. Instead, he is seeking, in a § 2255 filed more than a year

after his conviction became final, to extend both Johnson and Welch to a new, readily

distinguishable context—§ 924(c)(3)(B). As explained next, however, a Johnson challenge to a

§ 924(c) conviction cannot satisfy § 2255(f)(3), the only available provision to extend the statute

of limitations.

III.    Johnson challenges to § 924(c) convictions cannot satisfy the statute of limitations in
        § 2255(f)(3).

        Because defendant’s conviction became final more than a year ago, he fails to satisfy the

statute of limitations in 28 U.S.C. § 2255(f)(3)—the only available means for him to resurrect a

timely challenge under § 2255 to his otherwise long-final conviction. Although defendants

seeking to challenge ACCA sentences under Johnson had one year from the date that Johnson

was decided to file habeas petitions raising Johnson, that one-year deadline does not govern all

possible extensions of Johnson. Critically, the problem under § 2255(f)(3) is not that defendant

is too late to obtain relief under Johnson; rather, defendant’s problem is that he is—at best for



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him—premature in asserting rights that the Supreme Court has not yet recognized in extending

Johnson. At present, the Supreme Court itself simply has not extended Johnson to invalidate 18

U.S.C. § 924(c)(3)(B) as unconstitutionally vague, and the Supreme Court itself must be the

judicial body that makes that extension of the substantive right for defendant to satisfy

§ 2255(f)(3). This threshold legal issue bars relief at present.

       Under § 2255(f)(3), a one-year statute of limitations runs from “the date on which the

right asserted was initially recognized by the Supreme Court, if that right has been newly

recognized by the Supreme Court and made retroactively applicable to cases on collateral

review.” 18 U.S.C. § 2255(f)(3). Thus, § 2255(f)(3) provides that when the Supreme Court

“decides a case recognizing a new right, a federal prisoner seeking to assert that right will have

one year from [the Supreme Court’s] decision within which to file his § 2255 motion.” Dodd,

545 U.S. at 358–59 (emphasis added). Critically, § 2255(f)(3) requires that the Supreme Court

itself recognize the specific substantive right at issue. A defendant “has one year from the date

on which the right he asserts was initially recognized by this Court.” Dodd, 545 U.S. at 357

(emphasis added). Although the Fourth Circuit has held in line with other circuits “that

§ 2255(f)(3) does not require that the initial retroactivity question be decided in the affirmative

only by the Supreme Court,” United States v. Thomas, 627 F.3d 534, 536 (4th Cir. 2010)

(emphasis added), by necessary implication—and as the plain language of § 2255(f)(3)

requires—the Supreme Court itself must establish the particular substantive right at issue. This

is significant. Because § 2255(f)(3) twice refers to rights that the “Supreme Court” has

recognized, the references to the “Supreme Court” in § 2255(f)(3) necessarily must refer to a

requirement that the Supreme Court be the court to recognize the particular substantive right

being asserted.




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       Section 2255(f)(3) does refer to when a right was “initially” recognized, but that

provision has a readily understandable role to play—namely, when the Supreme Court merely

repeats in a later opinion its approval of a specific right that the Court has already recognized,

that does not reopen the statute of limitations. See, e.g., In re Vassell, 751 F.3d 267, 269 (4th Cir.

2014). For example, when the Supreme Court repeated its ruling in Johnson invalidating the

ACCA’s residual clause in Welch (or repeats that ruling about the ACCA in another future case),

that new, later opinion does not restart the one-year limitation under § 2255(f)(3) in ACCA cases.

If § 2255(f)(3) were read otherwise, the one-year limit would be meaningless and endless as the

Supreme Court reaffirms or relies on its precedent over decades and beyond. See, e.g., United

States v. McDonnell, 136 S. Ct. 2355, 2373 (2016) (citing Johnson). But at the same time, and

equally important, the word “initially” in § 2255(f)(3) does not sow chaos and force district

courts (and defendants) to forecast in the year following any new Supreme Court ruling every

possible new application and extension that the just-announced opinion might have in other legal

contexts, where the new extension would possibly be retroactive. Under § 2255(f)(3), district

courts are not placed in the position of making determinations about uncertain extensions of new

Supreme Court precedent across an enormous range of long-final cases. Such an approach

would tear the legal system apart.

       In keeping with these points, § 2255(f)(3) divides rights finely, requires each to be itself

recognized by the Supreme Court, and then requires each to be retroactive. “Section 2255(f)(3)

does not authorize [a lower court] to read between the lines of a prior opinion [by the Supreme

Court] to discern whether that opinion, by implication, made a new rule retroactively applicable

on collateral review.” United States v. Mathur, 685 F.3d 396, 401 (4th Cir. 2012). The standards

in § 2255(f)(3) create an orderly, rational process. Courts reopen the statute of limitations for




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specific rights that the Supreme Court itself has newly recognized and do so for one year, but the

Supreme Court must be the one to recognize the specific right at issue.

       This system provides both a restriction and a significant benefit for defendants. Section

2255(f)(3) is a restriction because defendants whose convictions have been long final must wait

for new, specific rulings to be accepted by the Supreme Court for their cases, but under

§ 2255(f)(3), defendants also need not—and may not—jump the gun. Once a rule is extended,

creating a “new rule,” the statute of limitations in § 2255(f)(3) will begin to run upon the

announcement of that new rule (assuming that new rule is retroactive). This procedure confers

significant benefits on the legal system. A district court need not parse new Supreme Court

opinions for other possible applications; district courts simply apply controlling holdings and

wait to see if new extensions are later made. And by requiring controlling Supreme Court

precedent, Congress sought to ensure nationwide uniformity in the treatment of long-final

convictions.

       To determine whether the Supreme Court has issued a “new” constitutional ruling

satisfying § 2255(f)(3), courts should use the new rule framework of Teague v. Lane, 489 U.S.

288, 301 (1989). See, e.g., Dodd, 545 U.S. at 359 (tying together § 2255(f)(3) and Teague

retroactivity). Under the Teague framework, “a case announces a new rule if the result was not

dictated by precedent existing at the time the defendant’s conviction became final,” and “a

holding is not so dictated . . . unless it would have been apparent to all reasonable jurists.”

Chaidez v. United States, 133 S. Ct. 1103, 1107 (2013) (quoting Teague, 489 U.S. at 301;

Lambrix v. Singletary, 520 U.S. 518, 527–28 (1997)). As Teague noted, “a case announces a new

rule when it breaks new ground or imposes a new obligation on the States or the Federal

government.” 489 U.S. at 301. Invalidating a new, distinguishable federal statute as




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unconstitutional “breaks new ground” and “imposes a new obligation” on the federal

government, and it is not “apparent to all reasonable jurists” that the Supreme Court has already

invalidated § 924(c)(3)(B).

        For example, the Supreme Court’s ruling invalidating the sentencing guidelines in United

States v. Booker, 543 U.S. 220 (2005), was properly deemed a “new” rule for purposes of

analyzing rights on collateral review—even though Booker followed from earlier cases such as

Apprendi v. New Jersey, 530 U.S. 466 (2000), and Blakely v. Washington, 542 U.S. 296 (2004).

Booker was a “new rule” because the extension of Apprendi to the guidelines was not “apparent

to all reasonable jurists.” United States v. Morris, 429 F.3d 65, 70 (4th Cir. 2005) (Booker was

new rule) (quoting Beard v. Banks, 542 U.S. 406, 413 (2004)). And Booker was universally

deemed a new rule even though lower courts were predicting the invalidation of the guidelines in

advance of the Supreme Court’s ruling in Booker, and in some cases, courts were even imposing

alternative sentences. A lower court’s prediction about a ruling the Supreme Court might later

make, including even a reasonable prediction, fails to establish that the later ruling is not a new

rule.

        Under the Teague framework, courts cannot say that all reasonable jurists would

recognize that Johnson should be extended to § 924(c)(3)(B). The Fourth Circuit sitting en banc

has already very recently stated, in assessing a Johnson challenge to § 924(c) under the plain-

error standard, that it is unclear whether Johnson should be extended from the ACCA’s residual

clause to § 924(c)(3)(B). United States v. Graham, 824 F.3d 421, 424 n.1 (4th Cir. 2016) (en

banc). No judge of the Fourth Circuit disagreed on that point. Cf. United States v. Fuertes, 805

F.3d 485, 499 n.5 (4th Cir. 2015) (Although “the Supreme Court held unconstitutionally vague

the [ACCA residual clause], . . . the [Supreme] Court had no occasion to review the . . . residual




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clause” of § 924(c)(3)(B).). Manifestly, the Supreme Court itself has not already decided the

invalidity of § 924(c)(3)(B).

       Indeed, to date, no federal court of appeals has held that Johnson invalidates

§ 924(c)(3)(B). Two circuits have held that § 924(c)(3)(B) is distinguishable from the ACCA’s

residual clause because, among other considerations, (i) § 924(c)(3)(B) does not include the

confusing list of enumerated offenses present in the ACCA; (ii) § 924(c)(3)(B)’s text does not

encompass risks after the offense elements are satisfied; and (iii) § 924(c)(3)(B) does not have

the ACCA’s “fraught” history of interpretative failures that caused confusion and long-term,

pervasive disagreements among federal courts. See United States v. Hill, --- F.3d ---, 2016 WL

4120667, *7-12 (2d Cir. Aug. 3, 2016); United States v. Taylor, 814 F.3d 340, 375–76 (6th Cir.

2016). Section 924(c)(3)(B)’s structure and function are also necessarily narrower than the

ACCA’s residual clause because any predicate offense for § 924(c) must be capable of being

furthered, or otherwise have a sufficient nexus to, a firearm. The Eighth Circuit has also rejected

a Johnson challenge to § 924(c)(3)(B), albeit on reasoning different than the Second and Sixth

Circuits’. United States v. Prickett, --- F.3d ---, 2016 WL 4010515 (8th Cir. July 27, 2016).

       To establish that he satisfies § 2255(f)(3), a defendant must contend that no reasonable

jurist could have reached the result that the Second Circuit did in Hill, that the Sixth Circuit did

in Taylor, or that the Eighth Circuit did in Prickett. A defendant would likewise have to maintain

that the en banc Fourth Circuit was unreasonable when the judges failed to recognize that

Johnson already invalidates § 924(c)(3)(B). Graham, 824 F.3d at 424 n.1 (citing Taylor).

       Although § 924(c)(3)(B) and 18 U.S.C. § 16(b) are distinguishable given that § 924(c)

creates a separate crime when the predicate offense is perpetrated with a sufficient nexus to a

firearm, under defendant’s theory that Johnson already itself invalidates § 924(c)(3)(B),




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defendant is also committed to arguing that § 16(b) is invalid. But the en banc Fifth Circuit just

rejected that Johnson invalidated § 16(b). United States v. Gonzalez-Longoria, ---F.3d---, 2016

WL 4169127 (5th Cir. Aug. 5, 2016). Thus, defendant’s theory that he satisfies § 2255(f)(3)

requires concluding that the 11 judges who joined the majority opinion adopted a position that no

reasonable jurist could take.

       True, three circuits have held § 16(b) to be invalid. Shuti v. Lynch, --- F.3d ---, 2016 WL

3632539 (6th Cir. July 7, 2016); United States v. Vivas-Ceja, 808 F.3d 719, 723 (7th Cir. 2015);

Dimaya v. Lynch, 803 F.3d 1110, 1120 (9th Cir. 2015) (same), gov. cert. petition filed, No. 15-

1498 (June 10, 2016). But as the Fifth Circuit recently observed, “[t]his disagreement among

lower court judges demonstrates that the Supreme Court has not taken a position on whether

Johnson applies to section 924(c)(3)(B).” In re Fields, --- F.3d ---, 2016 WL 3383460, *1 (5th

Cir. June 17, 2016).

       Moreover, Shuti, Vivas-Cejas, and Dimaya are incorrect, as the Second and en banc Fifth

Circuit have explained. First, “each greatly underestimates—or misunderstands—the

significance of the list of enumerated offenses in the ACCA’s residual clause” in the Supreme

Court’s decision to hold the ACCA’s residual clause invalid. Hill, 2016 WL 4120667 at *11.

Second, the cases invalidating § 16(b) “either ignore or minimize the other textual distinctions

between the residual clause [of the ACCA] and the language of § 16(b).” Id. Third, “each case

dismisses the significance of the Supreme Court’s fraught precedent interpreting the ACCA’s

residual clause.” Id. In sum, Shuti, Vivas-Ceja, and Dimaya “extend” Johnson “in a way flatly

inconsistent with that decision’s own articulation of the limitations of its holding.” Id. at *12.

       Under the defendant’s position, even though § 16(b) is purportedly so obviously

unconstitutional after Johnson that no reasonable jurist could conclude otherwise, the Supreme




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Court in a post-Johnson opinion nevertheless did not treat half of § 16 as unconstitutional.

Torres v. Lynch, 136 S. Ct. 1619, 1629–30, 1637 & n.1 (2016). And on defendant’s view, the

Supreme Court must have been unreasonable when it denied certiorari post-Johnson for

challenges to § 924(c)(3)(B), rather than at least granting, vacating, and remanding in light of

Johnson. Santana v. United States, 136 S. Ct. 2007 (2016). Although the Supreme Court’s

rulings granting, vacating, and remanding in light of a new Supreme Court opinion are not

determinations on the merits and merely reflect a possible effect from a new Supreme Court

ruling, see, e.g., Tyler v. Cain, 533 U.S. 656, 666 n.6 (2001), the Supreme Court has not granted,

vacated, and remanded in § 924(c) cases in light of Johnson.

       Indeed, the Supreme Court must have been unreasonable in Johnson and Welch in

repeatedly emphasizing that the ruling in Johnson should not be understood to raise doubts about

(much less invalidate) other laws using similar risk-based language. See Johnson, 135 S. Ct. at

2561 (“The government and the dissent next point out that dozens of federal and state criminal

laws use terms like ‘substantial risk,’ ‘grave risk,’ and ‘unreasonable risk,’ suggesting that to hold

the [ACCA] residual clause unconstitutional is to place these provisions in constitutional

doubt. . . . Not at all.”); Welch, 136 S. Ct. at 1262 (“The Court’s analysis in Johnson thus cast no

doubt on the many laws that “require gauging the riskiness of conduct in which an individual

defendant engages on a particular occasion.” (quoting Johnson, 135 S. Ct. at 2561)). In short, to

return to the overarching requirement of § 2255(f)(3), the Supreme Court has not already

invalidated § 16(b)—much less § 924(c)(3)(B), which itself can be distinguished from both the

residual clause of the ACCA and § 16(b).

       Defendants have requested that district courts hold Johnson § 2255 motions challenging

§ 924(c) convictions in abeyance until the Fourth Circuit addresses whether Johnson should be




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extended to invalidate § 924(c)(3)(B). But that request reveals two flaws. First, by suggesting

that it is necessary to wait for a Fourth Circuit ruling, defendants have undercut their argument

that the Supreme Court has already decided that § 924(c)(3)(B) is unconstitutionally vague.

Second, such a stay would not aid defendants, for even a Fourth Circuit ruling invalidating

§ 924(c)(3)(B) would not suffice to satisfy § 2255(f)(3), which requires a Supreme Court ruling.

Cf. In re Embry, --- F.3d ---, 2016 WL 4056056 (6th Cir. July 19, 2016) (concluding that the

“Supreme Court has not yet decided whether” the Sixth Circuit’s existing opinion invalidating

the residual clause of the career-offender guideline under Johnson “is correct” and indicating,

without deciding, that if the Supreme Court extends Johnson to the guidelines, that would be a

“new” rule under § 2255(f)(3)).

        Again, in analyzing the framework under § 2255(f)(3), Booker provides a useful analogy.

Although Booker’s holding invalidating the mandatory guidelines was not later deemed

retroactive, as Morris and countless cases held, the Supreme Court’s opinion in Apprendi did not

and should not have touched off a stampede by all federal inmates to anticipate the possible

extension of Apprendi to the guidelines and a possible determination that Booker would be

deemed retroactive. The statutory scheme for collateral review should be—and is—more orderly

than that, and requires precisely targeted “new” rights to fit within § 2255(f)(3) and then be made

retroactive. Section 2255(f)(3) fits within “the well-settled principle that to obtain collateral

relief a prisoner must clear a significantly higher hurdle than would exist on direct appeal.”

United States v. Frady, 456 U.S. 152, 166 (1982). And again, lower-court precedent does not

suffice to meet § 2255(f)(3) for establishing extensions of substantive rights. Cf. United States v.

Whiteside, 775 F.3d 180, 184 (4th Cir. 2014) (en banc) (“Whiteside’s view would render the

statute of limitations virtually without limits. Notably, Whiteside does not even attempt to argue




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that his claim [based on a new court of appeals opinion] satisfies the requirements specified in

[2255](f)(3).”).

       The above authority shows that defendants seeking to challenge § 924(c) convictions

under Johnson are premature. If the Supreme Court later invalidates § 924(c)(3)(B) and that

ruling is retroactive, at that point, defendants will have one year in which to file a § 2255

petition. But at present, district courts should not attempt to make predictions about questions

that the Supreme Court itself has not resolved. 1

       Further reinforcing the above points is the Supreme Court’s recent decision to grant

certiorari to consider whether Johnson extends to the sentencing guidelines and is retroactive in

that context. Notably, the Supreme Court declined to adopt the defendant’s request in that case

to rule summarily in his favor in light of Johnson and Welch. Beckles v. United States, --- S. Ct.

---, 2016 WL 1029080 (June 27, 2016). More specifically, the Court granted certiorari in Beckles

to address whether Johnson invalidates the residual clause of the career-offender guidelines,

whether Johnson is retroactive in a guidelines case on collateral review, and whether possession

of a sawed-off shotgun, an offense identified in then-applicable guidelines commentary, counts



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      In a recent case, In re Hubbard, --- F.3d ----, 2016 WL 3181417 (4th Cir. June 8, 2016), the
Fourth Circuit, interpreting 28 U.S.C. § 2255(h)(2), authorized a petitioner to file a successive
Johnson petition challenging the guidelines. Hubbard did not address § 2255(f)(3), an
affirmative defense, but rather simply made a prima facie determination that the defendant had
made “a sufficient showing of possible merit to warrant a fuller exploration by the district court”
under § 2255(h)(2). Hubbard, 2016 WL 3181417, at *3 (quoting In re Williams, 330 F.3d 277,
281 (4th Cir. 2003)). In authorizing a successive petition, the Fourth Circuit merely takes “a
cursory glance at the merits” of whether a defendant is entitled to relief, satisfying § 2255(h)(2).
Id. at *4 (quoting Williams, 330 F.3d at 282). But the ultimate determination “is for the district
court to determine,” including an evaluation of the government’s defenses. Id. It follows a
fortiori that the Fourth Circuit did not decide anything about § 2255(f)(3), a topic Hubbard did
not even mention and a defense that the government has not had an opportunity to raise and
litigate before the Fourth Circuit. And the substantive question whether Johnson invalidated the
guidelines is presently before the Supreme Court.



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as a crime of violence. The Supreme Court’s granting of certiorari in Beckles, rather than

summarily reversing, undercuts that the Supreme Court itself has already decided both the

extension of Johnson into new areas of law and the retroactivity of that extension.

IV.    The government may file a motion to dismiss a § 2255 without asserting all defenses
       and without waiving other defenses and arguments on the merits.

       Motions to dismiss are an accepted part of habeas litigation. The Supreme Court has

noted the practice in an appeal from the Fourth Circuit and the Eastern District of Virginia, and

judges in this district have continued to permit the motions. See, e.g., Murray v. Carrier, 477

U.S. 478, 483 (1986) (noting that case came to the Supreme Court from the Eastern District of

Virginia after motion to dismiss habeas petition, asserting procedural default and other defenses).

Rule 5 of the Rules Governing Section 2255 Proceedings for the United States District Courts

addresses the government’s answer to a § 2255 motion. The 2004 Amendments to Rule 5 note

that the rule does not expressly address motions to dismiss but was not intended to preclude that

well-established practice. “The revised rule does not address the practice in some districts,

where the respondent files a pre-answer motion to dismiss the motion. But revised Rule 4(b)

contemplates that practice and has been changed to reflect the view that if the court does not

dismiss the motion, it may require (or permit) the respondent to file a motion.” This practice

applies generally in habeas litigation, and motions to dismiss are permitted both for habeas

petitions under 28 U.S.C. § 2254 and § 2255. “[R]esponding to a habeas petition with a motion

to dismiss is common practice.” White v. Lewis, 874 F.2d 599, 603 (9th Cir. 1989).

       Moreover, the government may choose to raise a few threshold defenses in a motion to

dismiss that are readily adjudicated by a district court, without waiving other defenses that might

be asserted in a later answer to the § 2255 motion. See, e.g., Morrison v. Mahoney, 399 F.3d

1042, 1046 (9th Cir. 2005); United States v. Valdez, 195 F.3d 544, 548 (9th Cir. 1999), abrogated



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on other grounds by, Dodd v. United States, 545 U.S. 353 (2005)); Brian R. Means, Federal

Habeas Manual, § 8:24 (2016). Such an approach can preserve the resources of the Court and

the government—and does so here. The practice of permitting some defenses to be raised in a

motion to dismiss without waiving others is also consistent with civil rules of procedure and

Rule 12 of the Rules Governing Section 2255 Proceedings because a motion to dismiss does not

constitute the government’s response to the habeas petition. Cf. Domino Sugar Corp. v. Sugar

Workers, 10 F.3d 1064, 1068 n.1 (4th Cir. 1993) (“A motion to dismiss is not a responsive

pleading for purposes of Rule 15(a).”); Galustian v. Peter, 591 F.3d 724, 730 (4th Cir. 2010)

(same). Hence, the government does not waive procedural default, Teague defenses, the merits

of the limitations in § 2255(h)(2), other defenses, or merits arguments through this more limited

motion to dismiss.



                                     Respectfully submitted,

                                     Dana J. Boente
                                     United States Attorney


                                     ___________/s/_______________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of August 2016, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notification of such

filing (NEF) to counsel of record.




                                                     _____________/s/_______________
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